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AO 248 (Rev. 08/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)

                            UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WASHINGTON

 UNITED STATES OF AMERICA
                                                          Case No. C13-0147JLR

                                                          ORDER ON MOTION FOR
 v.                                                       SENTENCE REDUCTION UNDER
                                                          18 U.S.C. § 3582(c)(1)(A)

                                                          (COMPASSIONATE RELEASE)
 CHRISTINA D. CARLSON

         Upon motion of the defendant for a reduction in sentence under 18 U.S.C.

§ 3582(c)(1)(A), and after considering the applicable factors provided in 18 U.S.C. § 3553(a) and

the applicable policy statements issued by the Sentencing Commission,

IT IS ORDERED that the motion is:

      DENIED after complete review of the motion on the merits.

             FACTORS CONSIDERED (Optional)

         Ms. Carlson’s medical conditions and the treatment she is receiving at Federal Medical

Center Carlswell (“FMC Carlswell”); Ms. Carlson’s age; the number of COVID-19 cases at

FMC Carlswell; the Bureau of Prisons’ efforts to prevent further COVID-19 outbreaks at FMC

Carlswell; Ms. Carlson’s proposed release plan; Ms. Carlson’s criminal and disciplinary history;

and the potential danger Ms. Carlson poses to the community.

             DENIED because the defendant has not exhausted all administrative remedies as

required in 18 U.S.C. § 3582(c)(1)(A), nor have 30 days lapsed since receipt of the defendant’s

request by the warden of the defendant’s facility. The court disagrees with the Government that

Ms. Carlson has met her burden on this issue. See, e.g., United States v. Garcia, No.

CR13-0071JLR, 2020 WL 3839631, at *3-4 (W.D. Wash. July 8, 2020) (explaining the
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exhaustion requirements that must be met before a defendant can file a motion under 18 U.S.C.

§ 3582(c)(1)(A)). Ms. Carlson has not demonstrated that, after receiving a rejection notice from

the administrative remedy coordinator at FMC Carlswell on June 10, 2020, Ms. Carlson made

any attempt to properly resubmit her request. Nor has she demonstrated that she has properly

submitted any other requests that the warden has failed to act on for a period of 30 days.

IT IS SO ORDERED.

Dated: October 2, 2020




                                                              A
                                                              JAMES L. ROBART
                                                              United States District Judge




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